
In re Applying for Motion for Hearing to Determine Current Validity of Claim to Inability to Defend. Office of Disciplinary *534Counsel, Nos. 00-PDB-204. 98-DB-015, 98-DB-039, 98-DB-022.
ORDER
Considering the Motion for Hearing to Determine Current Validity of Claim of Inability to Defend filed by the Office of Disciplinary Counsel, the findings and recommendation of the hearing committee, and the record herein,
IT IS HEREBY ORDERED that respondent shall remain on disability inactive status until such time as his disability has been removed and he is competent to be reinstated to active status pursuant to Supreme Court Rule XIX, § 22(G).
/s/John L. Weimer Justice, Supreme Court of Louisiana
